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UNITED STATES JUDICIAL PANEL
on
MULTIDISTRICT LITIGATION

Vv

IN RE: FEDERAL TRADE COMMISSION,

NEGATIVE OPTION RULE, RIN 3084-AB60,

89 FED. REG. 90476, PUBLISHED ON

NOVEMBER 15, 2024 MCP No. 192

(SEE ATTACHED SCHEDULE)
CONSOLIDATION ORDER

The Federal Trade Commission issued a final rule, announced on October 16, 2024,
and published in the Federal Register on November 15, 2024. The Panel received, pursuant to
28 U.S.C. § 2112(a)(3), a notice of multicircuit petitions for review of that order, on November
20, 2024. The notice included petitions for review pending in the following four circuit courts
of appeal: Fifth Circuit, Sixth Circuit, Eight Circuit, and Eleventh Circuit.

The Panel has randomly selected the United States Court of Appeals for the Eighth
Circuit in which to consolidate these petitions for review.

IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 2112(a)(3), the petitions on
the attached schedule are consolidated in the United States Court of Appeals for the Eighth
Circuit, and that this circuit is designated as the circuit in which the record is to be filed pursuant
to Rules 16 and 17 of the Federal Rules of Appellate Procedure.

FOR THE PANEL:

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Nancy Stone, Staff Attorney
Random Selector

Qo

Chelsea Thomas, Case Administrator
Witness .

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NEGATIVE OPTION RULE, RIN 3084-AB60,
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SCHEDULE OF PETITIONS

CIRCUIT NO. CASE CAPTION

Fifth Circuit, No. 24-60542 Electronic Security Association, et al. v. FTC

Sixth Circuit, No. 24-3912 Michigan Press Association, et al. v. FTC

Eighth Circuit, No. 24-3137 Custom Communications, Inc. v. FTC

Eleventh Circuit, No. 24-13436 Chamber of Commerce of the United

States of America, et al. v. FTC
